       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                              FOURTH DISTRICT

                              CRAIG L. MACK,
                                Appellant,

                                    v.

                         STATE OF FLORIDA,
                              Appellee.

                           No. 4D2024-0894

                           [August 22, 2024]

   Appeal of order denying rule 3.800 motion from the Circuit Court for
the Seventeenth Judicial Circuit, Broward County; Bernard Bober, Judge;
L.T. Case No. 06-18683CF10A.

   Craig Mack, Wewahitchka, pro se.

   No appearance required for appellee.

PER CURIAM.

   Affirmed.

KLINGENSMITH, C.J., LEVINE and KUNTZ, JJ., concur.

                          *          *          *

   Not final until disposition of timely filed motion for rehearing.
